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Exhibit A

Broadhollow Sale Agreement

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SALE, ASSIGNMENT AND TRANSFER OF LIMITED LIABILITY COMPANY
INTEREST OF BROADHOLLOW FUNDING, LLC

This Sale, Assignment and Transfer of Limited Liability Company Interest of
Broadhollow Funding, LLC (this “Sale and Assignment Agreement”) dated effective as of
, 2010, is entered into by and between AMERICAN HOME
MORTGAGE CORP., a New York Corporation (“AHM Corp.”), and B&M MANAGEMENT
CORP., a Delaware corporation (“Assignee’’).

RECITALS

WHEREAS, AHM Corp., together with American Home Mortgage Acceptance,
Inc., a Maryland corporation, American Home Mortgage Holdings, Inc., a Delaware corporation,
American Home Mortgage Investment Corp., a Maryland corporation, AHM SV, Inc. (f/k/a
American Home Mortgage Servicing, Inc.), a Maryland corporation, American Home Mortgage
Ventures LLC, a Delaware limited liability company, and Homegate Settlement Services, Inc., a
New York corporation (collectively, the “Debtors’”), filed for bankruptcy protection under
Chapter 11 of the United States Bankruptcy Code on August 6, 2007, in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court’);

WHEREAS, the Debtors’ bankruptcies are being jointly administered under Case
No. 07-11047 (CSS);

WHEREAS, Broadhollow Funding, LLC, a Delaware limited liability company
(“Broadhollow’”), was formed on October 27, 2003;

WHEREAS, pursuant to the Limited Liability Company Agreement of
Broadhollow (the ‘“Broadhollow LLC Agreement”), dated as of May 27, 2004, AHM Corp. is the
sole equity member and manager of Broadhollow;

WHEREAS, Broadhollow, as issuer, and Deutsche Bank Trust Company
Americas, in its capacity as Indenture Trustee (the “Indenture Trustee”), are parties to that
certain Base Indenture dated as of May 27, 2004 (the “Base Indenture’’), for the issuance from
time to time of one or more series of Broadhollow’s Residential Mortgage-Backed Notes (the
“Senior Notes”), and one or more series of Broadhollow’s Residential Mortgage-Backed
Subordinated Notes (the “Subordinated Notes,” and collectively with the Senior Notes, the
‘“Notes’’), issuable as provided in the Base Indenture;

WHEREAS, capitalized terms used but not defined in this Sale and Assignment
Agreement shall have the meaning specified in the Base Indenture;

WHEREAS, the Indenture Trustee and/or the holders of the Subordinated Notes
have claims against Broadhollow for, inter alia, the portion of their Notes that remain unpaid,
and may have additional claims against AHM Corp. in its capacity as member and/or manager of
Broadhollow or against certain of the Debtors for various reasons;

WHEREAS, the Debtors have or may be entitled to assert claims against
Broadhollow, the Indenture Trustee, and one or more of the holders of the Subordinated Notes;

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WHEREAS, the Debtors currently hold the Miscellaneous Funds Escrow Account
(as defined in the Order Approving And Authorizing the Stipulation Between the Debtors and
Calyon New York Branch, as Administrative Agent [Docket No. 391 8]);

WHEREAS, Broadhollow has certain claims against Bank of America and other
market value swap providers for failing to make payments under a swap, which claims, if
liquidated, would be available to satisfy unpaid Notes;

WHEREAS, a full and complete list of the loans and/or real estate owned by
Broadhollow (identified by loan number) is set forth on Schedule 1 hereto (the “Mortgage
Loans”);

WHEREAS, certain holders of Subordinated Notes either directly or indirectly
own interests in Assignee or hold contractual rights to control the management of Assignee; and

WHEREAS, pursuant to the terms of the Broadhollow LLC Agreement, Rating
Agency Confirmation (as defined in the Broadhollow LLC Agreement) is a condition to the transfer
of a member’s limited liability company interest or the removal of the manager.

NOW, THEREFORE, in consideration of the foregoing recitals, which are
incorporated by reference herein, the mutual promises herein contained and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
hereby agree as follows:

1. Sale and Assignment of Broadhollow Interest; Payment. Subject to the
terms and conditions set forth in this Sale and Assignment Agreement, at the Closing (as
hereinafter defined), AHM Corp. shall:

a. execute and deliver to Assignee that certain Consent of American
Home Mortgage Corp. attached hereto as Exhibit A, pursuant to which
AHM Corp. shall consent to the admission of Assignee as a member
of Broadhollow;

b. pursuant to Section 363 of the Bankruptcy Code, execute and deliver
to Assignee that certain Assignment and Assumption of Membership
Interests attached hereto as Exhibit B (the “Assignment of
Membership Interests”), pursuant to which AHM Corp. shall sell,
assign, transfer, and convey all of AHM Corp.’s limited liability
company interest in Broadhollow (the “Assigned Interest”) to
Assignee, free and clear of all liens, pledges, claims, charges, security
interests, and encumbrances of every kind and nature;

c. execute and deliver to Assignee that certain Resignation of Manager
attached hereto as Exhibit C, pursuant to which AHM Corp. shall
resign as the manager of Broadhollow,

d. deliver to Assignee (i) copies of all formation and organizational
documents filed by or on behalf of Broadhollow with the Secretaries
of State of the State of Delaware and each other state in which

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Broadhollow is qualified as a foreign limited liability company, all as
certified by the applicable Secretary of State within five (5) days prior
to the Closing Date, and (ii) certificates of good standing and payment
of all applicable state franchise taxes of Broadhollow issued by the
Delaware Secretary of State and the appropriate officials of each other
state in which Broadhollow is qualified as a foreign limited liability
company, in each case dated within five (5) days prior to the Closing
Date;

e. execute and deliver to Assignee a certification of non-foreign status
satisfying the requirements of Section 1.1445-2(b)(2)(i) of the United
States Treasury Regulations promulgated under the Internal Revenue
Code of 1986, as amended;

f. cause each of the other Debtors to execute a counterpart of this Sale
and Assignment Agreement to effectuate the release granted by
Debtors pursuant to Section 3 of this Sale and Assignment Agreement;
and

g. pay from the Miscellaneous Funds Escrow Account the sum of
$703,162 to or on behalf of Broadhollow by wire transfer of
immediately available funds to such account or accounts as shall be
designated in writing to AHM Corp. by Assignee, including, without
limitation, any account or accounts maintained by the Collateral Agent
for the benefit of the Noteholders.

Upon the transfer of the Assigned Interest to Assignee, AHM Corp. shall cease to be a member
of Broadhollow, all limited liability company interests in Broadhollow shall be held by Assignee,
and Assignee shall be the sole equity member of Broadhollow.

2. Acceptance of Broadhollow Interest. Subject to the terms and conditions
set forth in this Sale and Assignment Agreement, at the Closing, Assignee hereby agrees (a) to
execute and deliver to AHM Corp. the Assignment of Membership Interests, pursuant to which
Assignee shall accept the sale, assignment, and transfer of the Assigned Interest from AHM
Corp. and shall agree to be bound by all terms and conditions of the Broadhollow LLC
Agreement; and (b) to cause Broadhollow to execute a counterpart of this Sale and Assignment
Agreement to effectuate the release granted by Broadhollow pursuant to Section 3 of this Sale
and Assignment Agreement. Assignee acknowledges and agrees that, subject to the Bankruptcy
Court Approval, the Assigned Interest will be assigned at the Closing without prior Rating Agency
Confirmation.

3, Mutual Releases.

a. Debtors’ Releases: Except for the duties, liabilities, and obligations of
AHM Corp. under this Sale and Assignment Agreement and subject to
the last sentence of this Section 3.a, effective immediately upon the
admission of Assignee as a member of Broadhollow and the transfer of
the Assigned Interest to Assignee, Broadhollow, and Assignee, on
behalf of Assignee and all of Assignee’s current and former officers,

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members, agents, directors, predecessors, successors, assigns,
affiliates, and other representatives, in each case, solely in such
capacity (collectively, the “Broadhollow Releasors”), fully and forever
release, acquit, waive and discharge each of the Debtors and Debtors’
respective officers, managers, members, directors, stockholders,
employees, affiliates, subsidiaries, parents, agents, representatives,
attorneys, heirs, successors and assigns, as applicable (collectively, the
“Debtor Releasees”), of and from all and every manner of claims,
including but not limited to, any action and actions, cause and causes
of action, complaints, debts, covenants, rights, suits, judgments,
representations, warranties, fees, demands, priority claims, unsecured
claims, cure claims, deficiency claims, interest claims, penalty claims,
administrative claims, counterclaims, and damages whatsoever, known
or unknown, arising, accruing, assessed or assessable in respect of any
periods and any transactions, contracts or agreements occurring or
entered into in any periods (collectively, the “Broadhollow Released
Claims”), which Broadhollow Released Claims shall be waived,
released, forever barred, discharged and disallowed. For the avoidance
of doubt, Debtor Releasees shall include any plan trust established by
Order of the Bankruptcy Court to which any Debtors’ assets are
transferred as well as the trustee of any such trust. Notwithstanding
anything to the contrary set forth in this Section 3.a, the Noteholders
that hold direct or indirect ownership interests in Assignee shall not be
deemed to be Broadhollow Releasors for purposes of this Section 3.a,
it being acknowledged and agreed that any releases given by such
Noteholders shall be governed solely by Section 4 hereof and the
Order contemplated therein.

Broadhollow and Assignee Releases: Except for the duties, liabilities,
and obligations of Assignee under this Sale and Assignment
Agreement and subject to the last sentence of this Section 3.b,
effective immediately upon the admission of Assignee as a member of
Broadhollow and the transfer of the Assigned Interest to Assignee,
Debtors, on behalf of themselves and all of their current and former
officers, members, agents, directors, predecessors, successors, assigns,
affiliates, and other representatives, in each case, solely in such
capacity (collectively, the “Debtor Releasors”), fully and forever
release, acquit, waive and discharge each of Broadhollow and
Assignee, and all of their respective officers, managers, members,
directors, shareholders, employees, affiliates, subsidiaries, parents,
agents, representatives, attorneys, heirs, successors and assigns, as
applicable (collectively, the “Broadhollow Releasees”), of and from all
and every manner of claims, including but not limited to, any action
and actions, cause and causes of action, complaints, debts, covenants,
rights, suits, judgments, representations, warranties, fees, demands,
priority claims, unsecured claims, cure claims, deficiency claims,
interest claims, penalty claims, administrative claims, counterclaims,
and damages whatsoever, known or unknown, arising, accruing,

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assessed or assessable in respect of any periods and any transactions,
contracts or agreements occurring or entered into in any periods
(collectively, the ‘Debtors’ Released Claims”), which Debtors’
Released Claims shall be waived, released, forever barred, discharged
and disallowed. Notwithstanding anything to the contrary set forth in
this Section 3.b, the Noteholders that hold direct or indirect interests in
the Assignee and the Indenture Trustee, shall not be deemed to be
Broadhollow Releasees for purposes of this Section 3.b, it being
acknowledged and agreed that any releases given by the Debtor
Releasors to such Noteholders and the Indenture Trustee shall be
governed solely by Section 4 hereof and the Order contemplated
therein.

4, Bankruptcy Court Approval. All obligations of the Debtors, Broadhollow
and Assignee under this Sale and Assignment Agreement, including all actions, sales,
assignments, agreements, releases, waivers, consents, terms and obligations contained herein, are
subject to and conditioned upon approval, upon notice and a hearing, by the Bankruptcy Court of
(i) the transfer of the Assigned Interest from AHM Corp. to Assignee and the replacement of
AHM Corp. as the manager of Broadhollow by Assignee, in each case without prior Rating
Agency Confirmation, and (ii) the Order Releases (as defined below) (collectively, “Bankruptcy
Court Approval”). Within two (2) business days of the execution of this Sale and Assignment
Agreement, Debtors shall file a motion with the Bankruptcy Court seeking Bankruptcy Court
Approval. Each of the parties acknowledges and agrees that (a) the release of the Debtors is an
integral part of the consideration to the Debtors under this Sale and Assignment Agreement, (b)
that it is the intent of the parties that Debtors be released from any and all liabilities or
obligations related to or arising out of Debtors ownership of Broadhollow, and (c) that as part of
the Bankruptcy Court Approval, Debtors will seek an Order that includes (i) the Indenture
Trustee, solely in its capacity as such and for no other purpose, and Noteholders, solely in their
capacity as such and for no other purpose, as additional releasors; and (ii) the Indenture Trustee,
solely in its capacity as such and for no other purpose, and Noteholders, solely in their capacity
as such and for no other purpose, as additional releasees such that there will be a mutual release
of any claims the Indenture Trustee or Noteholders have or may have against the Debtors and
any claims the Debtors have or may have against the Indenture Trustee or Noteholders, in each
case, solely in their respective capacities as Indenture Trustees or Noteholders ((i) and (ii),
collectively, the “Order Releases’).

5. Representations and Warranties.

a. AHM Corp. hereby represents and warrants to Assignee as of the date
hereof and as of the Closing Date as follows:

(i) AHM Corp. (A) is duly incorporated and is validly existing in
good standing as a corporation under the laws of its jurisdiction of
incorporation; and (B) subject to obtaining Bankruptcy Court
Approval, has the corporate power and authority to execute and deliver,
and perform AHM Corp.’s obligations under, this Sale and Assignment
Agreement. This Sale and Assignment Agreement has been duly executed
and delivered by AHM Corp.

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(11) Subject to obtaining Bankruptcy Court Approval, this Sale and
Assignment Agreement shall be valid, binding and enforceable against
AHM Corp. and its successors and assigns in accordance with its terms.

(iii) | Broadhollow (A) is duly formed and is validly existing in good
standing as a limited liability company under the laws of its jurisdiction of
formation; and (B) has the limited liability company power and authority

to own its properties and assets and to carry on its business.

(iv) The execution, delivery, and performance of this Sale and
Assignment Agreement has been duly authorized by all necessary

corporate action on behalf of AHM Corp.

(v) Subject to obtaining Bankruptcy Court Approval including a
waiver of the Rating Agency Confirmation, the execution, delivery, and
performance of this Sale and Assignment Agreement does not and will not
violate any provision of the formation or organizational documents of
Broadhollow, create any lien, security interest, charge, or encumbrance on
the Assigned Interest or any assets of Broadhollow, or conflict with or
result in a breach of, create an event of default under, or give any third
party the right to accelerate any obligation under, any agreement,
mortgage, order, arbitration award, judgment, or decree to which AHM
Corp. or Broadhollow is a party or by which AHM Corp., Broadhollow,
the Assigned Interest, or any assets or properties of the Broadhollow, are
bound or affected. Subject to obtaining Bankruptcy Court Approval
including a waiver of the Rating Agency Confirmation, AHM Corp. has
obtained all consents necessary for the consummation of the transactions

contemplated herein.

(vi) AHM Corp. is the sole equity member and manager of
Broadhollow, is the sole owner of the Assigned Interest and, subject to
obtaining Bankruptcy Court Approval, has full right to transfer, assign,
and sell the Assigned Interest free and clear of any liens, charges,

encumbrances or claims.

(vii) Schedule 1 contains a complete list of the Mortgage Loans and any
other material assets owned by Broadhollow. Broadhollow does not lease
any properties and does not own any direct or indirect interests in any
other entity. As of the Closing Date, Broadhollow shall not own any

Mortgage Loans.

(viii) Schedule 2 lists all contracts and agreements, whether written or
oral, material to and binding upon Broadhollow or involving any
restrictions on the operation of the business of Broadhollow (each, a
“Contract” and collectively, the “Contracts”). Each Contract is valid and
binding, and, to the knowledge of AHM Corp., no party thereto is in
breach or default thereof except as described on Schedule 2. AHM Corp.
has delivered to Assignee copies of all written Contracts and a written

description of any oral Contracts.

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(ix) | Except as described on Schedule 3 attached hereto and except for
any Proceeding (as hereinafter defined) released under this Agreement, to
AHM Corp.’s knowledge, there is no pending or threatened action, suit,
proceeding, claim, investigation, or inquiry (each, a “Proceeding”) before
or by any United States or non-United States federal, national,
supranational, state, provincial, local or similar government,
governmental, regulatory or administrative authority, branch, agency,
department, commission, board, bureau, instrumentality or any court,
tribunal, or arbitral or judicial body (including any grand jury), to restrain
or prevent the consummation of the transactions contemplated herein, or
that might affect the right of the Assignee to own the Assigned Interest or
the right of the Assignee to operate the business of Broadhollow, or
otherwise affecting Broadhollow, its assets, or business or involving this
Sale and Assignment Agreement. Except as described on Schedule 3
attached hereto, there is no Proceeding pending by Broadhollow against
others. Except as described on Schedule 3 attached hereto, Broadhollow
has no indebtedness for monies owed to AHM Corp. or any third party.

(x) Schedule 4 attached hereto contains a true, complete and correct
copy of the Broadhollow LLC Agreement, including all amendments
thereto.

(xi) | Broadhollow has at all times been a single member limited liability
company characterized as a disregarded entity for all federal and state
income tax purposes such that all items of income, gain, and loss of
Broadhollow have been included in the income, gain, and loss of AHM
Corp. and reported accordingly on returns and reports required to be filed
by AHM Corp. or the consolidated group of which AHM Corp. is a
member. Broadhollow will continue to be characterized as a disregarded
entity through the Closing Date and any income, gain, and loss from
Broadhollow will be included in all the required federal and state income
tax return filings of AHM Corp. or the consolidated group of which AHM
Corp. is a member through the Closing Date. AHM Corp. or the
consolidated group of which AHM Corp. is a member has paid or will pay
all taxes, interest and penalties associated with the items of income, gain,
and loss of Broadhollow through the Closing Date. Other than state
franchise tax returns to maintain its existence in its state of organization or
in any state where Broadhollow is qualified to do business, as a
disregarded entity, Broadhollow was not required to and has not filed
separate federal or state income or other tax returns. Broadhollow has or
shall have (A) filed all required state franchise tax returns in each
jurisdiction where Broadhollow is qualified to do business that are due on
or before the Closing Date and (B) paid ali taxes and fees reflected on
such franchise tax returns as well as interest and penalties, if any, relating
thereto.

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(xii) All of the Senior Notes, Short Term Notes, Term Notes, Extended
Notes, and Non-Call Notes have been paid in full in accordance with their
terms and have been fully released and discharged .

(xiii) No broker, finder or investment banker is entitled to any
brokerage, finder’s or other fee or commission in connection with the
transactions contemplated by this Sale and Assignment Agreement based
upon arrangements made by or on behalf of AHM Corp.

(xiv) Broadhollow does not have any employees and has not had any
employees since the date of its formation.

(xv) Broadhollow has not been qualified to do business in any state
other than Delaware and no state has asserted or notified Broadhollow that
Broadhollow is required to be qualified to do business in such state.

(xvi) None of the representations or warranties of AHM Corp. in this
Sale and Assignment Agreement or any related schedule or certificate
delivered by AHM Corp. to Assignee contains any untrue statement of a
material fact or omits to state a material fact necessary to make the
statements herein or therein not misleading.

For purposes of this Sale and Assignment Agreement, the term “AHM Corp.’s knowledge” shall
mean the actual knowledge of the employees of and consultants to AHM Corp. set forth on
Schedule 5 attached hereto after making a reasonable inquiry as to the accuracy of the
representation or warranty in question. For the avoidance of doubt, none of the individuals set
forth on Schedule 5 attached hereto shall be deemed to be a party to this Sale and Assignment
Agreement and no such individual shall be personally liable to Assignee for any breach of this
Sale and Assignment Agreement.

Assignee hereby represents and warrants to AHM Corp. as of the date

hereof and as of the Closing Date as follows:

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(i) Assignee (A) is duly formed and is validly existing in good
standing as a corporation under the laws of its jurisdiction of formation;
and (B) has the corporate power and authority to execute and deliver, and
perform Assignee’s obligations under, this Sale and Assignment
Agreement. This Sale and Assignment Agreement has been duly executed
and delivered by Assignee.

(ii) This Sale and Assignment Agreement is valid, binding and
enforceable against Assignee and its successors and assigns in accordance
with its terms.

(iii) The execution and delivery of this Sale and Assignment

Agreement has been duly authorized by all necessary corporate action on
behalf of Assignee.

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(iv) | Assignee has the corporate power and authority to accept and hold
the Assigned Interest as the sole member of Broadhollow.

(v) There is no pending or, to Assignee’s knowledge, threatened
Proceeding before or by any United States or non-United States federal,
national, supranational, state, provincial, local or similar government,
governmental, regulatory or administrative authority, branch, agency,
department, commission, board, bureau, instrumentality or any court,
tribunal, or arbitral or judicial body (including any grand jury), to restrain
or prevent the consummation of the transactions contemplated herein, or
that might affect the right of the Assignee to own the Assigned Interest or
the right of the Assignee to operate the business of Broadhollow.

(vi) No broker, finder or investment banker is entitled to any
brokerage, finder’s or other fee or commission in connection with the
transactions contemplated by this Sale and Assignment Agreement based
upon arrangements made by or on behalf of Assignee.

For purposes of this Sale and Assignment Agreement, the term “Assignee’s knowledge” shall
mean the actual knowledge of Geoffrey L. Berman after making a reasonable inquiry as to the
accuracy of the representation or warranty in question.

6. Documents. To the extent such documents and information actually exist
and are in the possession of AHM Corp., AHM Corp. shall use its commercially reasonable
efforts to deliver to Assignee, no later than fifteen (15) days prior to Closing, all of the
documents and information described on Schedule 6 attached hereto (collectively, the “Required
Materials”). Without limiting the foregoing, it shall be a condition to Assignee’s obligation to
consummate the transactions contemplated herein that the Required Materials are delivered to
Assignee three (3) business days prior to the Closing Date, and the Closing Date shall be
adjourned as necessary to accomplish the foregoing. Within fourteen (14) business days after
Closing (as hereinafter defined), AHM Corp. shall transfer to Assignee (i) any and all Mortgage
Loan documents in AHM Corp.’s possession and (ii) any and all records, agreements,
statements, tax returns or other governmental filings pertaining to or binding upon Broadhollow
(other than Required Materials) that, in each case, are in AHM Corp.’s possession.

7. Sale of Mortgage Loans. On or before the Closing Date, Broadhollow
shall have sold each of the Mortgage Loans in one or more arm’s-length transactions to one or
more third-party purchasers on a substantially an “as-is, where-is basis” pursuant to one or more
agreements executed by AHM Corp., in its capacity as the manager of Broadhollow, in the sole
discretion of AHM Corp. after consultation with Assignee. The gross proceeds of all such sales
(the “Gross Sale Proceeds”), minus (i) due diligence expense reimbursement costs in connection
therewith in an aggregate amount not to exceed $40,000 payable directly from the purchaser(s)
out of the Gross Sale Proceeds, (ii) the costs and expenses of AHM Corp. and its counsel
incurred in connection therewith in the aggregate amount of $25,000 payable directly from the
purchaser(s) out of the Gross Sale Proceeds, and (iii) any and all amounts due and owing to the
servicer of the Mortgage Loans on account of the Mortgage Loans or the sale thereof to the
extent such liabilities are not assumed by the purchaser of the Mortgage Loans, including
without limitation any outstanding servicing fees, advances, deboarding fees or other transfer

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costs, which amounts shall be payable directly from the purchaser(s) out of the Gross Sale
Proceeds (such net amount, the “Noteholder Mortgage Sale Proceeds”) shall be paid at Closing
by the purchaser(s) by wire transfer of immediately available funds or other means as agreed to
with the purchaser(s) to the account or accounts maintained by the Collateral Agent for the
benefit of the Noteholders.

8. Future Cooperation. Each of the parties hereto agrees to cooperate at all
times from and after the date hereof with respect to all of the matters described herein and to
execute and deliver such further assignments, releases, assumptions, amendments of the
Broadhollow LLC Agreement, notifications, and other documents as may be reasonably
requested for the purpose of giving effect to, evidencing, or giving notice of the transaction
contemplated by this Sale and Assignment Agreement. In addition, for a period of at least thirty
(30) days following the Closing Date, AHM Corp. shall make Kevin Nystrom or another
employee of AHM Corp. knowledgeable about Broadhollow and its finances reasonably
available during normal working hours to answer any of Assignee’s questions pertaining thereto.
All actual costs associated with any actions described in this Paragraph shall be paid for by the
requesting party. AHM Corp. shall notify Assignee if at any time prior to or after the Closing
AHM Corp. shall become aware of any information or documentation that would render any
representation or warranty set forth in Section 5a. of this Sale and Assignment Agreement
untrue in any material respect. AHM Corp. and any successor thereto shall provide Assignee
with at least sixty (60) days’ notice of the hearing to consider a final decree of the Bankruptcy
Court closing the Chapter 11 Cases of the Debtors (the “Estate Termination Date”).

9. Closing. Subject to the terms and conditions of this Sale and Assignment
Agreement, including, without limitation, Section 6 hereof, the closing (the “Closing’’) of the
transaction contemplated hereby shall take place on the later to occur of (i) three (3) business
days following Bankruptcy Court Approval, or (ii) three (3) business days following the sale of
the Mortgage Loans as contemplated by Section 7 hereof (the “Closing Date”). The
representations and warranties of the parties shall be true and correct in all materials respects as
of the Closing Date as if made on the Closing Date except to the extent any such representations
and warranties speak of a specified earlier date (in which case such representation and warranty
shall be true and correct as of such specified earlier date). If, prior to the Closing Date, AHM
Corp. or Assignee, as the case may be, determines that a representation or warranty made by the
other party is not true and correct in all material respects, then the sole remedy of the party
asserting a breach of a representation or warranty shall be to terminate this Sale and Assignment
Agreement, and if this Sale and Assignment Agreement is so terminated, this Sale and
Assignment Agreement shall become void and of no further force or effect and no party shall
have any liability or further obligation to any other party resulting from such termination. As of
the Closing, (i) AHM Corp. shall certify to Assignee that, to the knowledge of AHM Corp., there
is no breach of any representation or warranty made by Assignee in this Sale and Assignment
Agreement; and (ii) Assignee shall certify to AHM Corp. that, to the knowledge of Assignee,
there is no breach of any representation or warranty made by AHM Corp. in this Sale and
Assignment Agreement.

10. Certain Expenses. All costs and expenses, including, without limitation,
legal costs and fees and any capital gains or other income taxes, incurred in connection with this
Sale and Assignment Agreement and the consummation of the transactions hereunder shall be
paid by the party incurring such expenses; provided, however, that costs and expenses, if any, of

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Broadhollow incurred in connection with this Sale and Assignment Agreement and the
consummation of the transactions hereunder shall be paid by AHM Corp.

11. Entire Agreement. This Sale and Assignment Agreement supersedes all
prior agreements between the parties with respect to its subject matter, and constitutes a
complete and exclusive statement of the terms of the agreement between the parties with respect
to its subject matter. This Sale and Assignment Agreement may not be amended except by a
written agreement executed by all parties hereto.

12. Binding Effect. This Sale and Assignment Agreement shall be binding
upon, and shall inure to the benefit of, the parties hereto and their respective successors and
assigns. AHM Corp. may not assign or transfer any right or obligation hereunder without the
prior written consent of Assignee. Assignee may assign or transfer its rights and obligations
hereunder to any entity controlling, controlled by or under common control with Assignee.

13. Execution in Counterparts. This Sale and Assignment Agreement may be
executed in one or more counterparts, by facsimile or by original signatures, each of which shall
be deemed an original, but all of which together shall constitute one and the same instrument.

14. Survival of Representations and Warranties. The representations and
warranties contained in this Sale and Assignment Agreement and in any certificate or other
instrument delivered pursuant hereto by any party shall survive the Closing until the earliest to
occur of (a) the Estate Termination Date; and (b) the third anniversary of the Closing; provided,
however that the representations and warranties of AHM Corp. set forth in Sections 5.a(vii),
5.a(viii), 5.a(ix), 5.a(x), 5.a(xii), 5.a(xiv), and 5.a(xvi) of this Sale and Assignment Agreement
(but only 5.a(xvi) to the extent it relates to another Limited Representation) and the
representations and warranties of Assignee set forth in Section 5.b(v) of this Sale and
Assignment Agreement (collectively, the “Limited Representations”) shall only survive the
Closing for a period of one (1) year, and damages payable to AHM Corp. or Assignee, as the
case may be, for any one or more breaches of any Limited Representation by the other party shall
not exceed, in the aggregate, a maximum amount of Fifty Thousand and 00/100 Dollars
($50,000.00) (the “Limited Representations Damages Cap”), provided, however, that the Limited
Representations Damages Cap shall not apply to any representation or warranty that was made
fraudulently or was knowingly false. All covenants contained in this Sale and Assignment
Agreement to be performed at or after the Closing shall survive the Closing.

15. Notices. Any notice pursuant to this Sale and Assignment Agreement
shall be given in writing by (a) personal delivery, or (b) reputable overnight delivery service with
proof of delivery, or (c) United States Mail, postage prepaid, registered or certified mail, return
receipt requested, sent to the intended addressee at the address set forth below, or to such other
address or to the attention of such other person as the addressee shall have designated by written
notice sent in accordance herewith, and shall be deemed to have been given either at the time of
personal delivery, or, in the case of expedited delivery service or mail, as of the date of first
attempted delivery at the address and in the manner provided herein, and provided also that
delivery after 4:00 p.m. Eastern Time on a business day, or on a day that is not a business day
shall be deemed delivered on the following business day. Notices may be given by counsel for
any party. Unless changed in accordance with the preceding sentence, the addresses for notices
given pursuant to this Sale and Assignment Agreement shall be as follows:

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If to AHM Corp.: American Home Mortgage Corp.
538 Broadhollow Road
Melville, New York 11747
Attention: Kevin Nystrom

with a copy to: Craig D. Grear, Esq.
Young Conaway Stargatt & Taylor, LLP
The Brandywine Building
1000 West Street, 17th Floor
Wilmington, Delaware 19801
Phone: (302)571-6612

If to Assignee: B&M Management Corp.
c/o Development Specialists, Inc.
Attention: Geoffrey L. Berman
333 S. Grand Avenue, Suite 4070
Los Angeles, California 90071-1544
Phone: (213) 617-2717

with a copy to: Allan Diamond, Esq.
Diamond McCarthy LLP
909 Fannin, Suite 1500
Houston, Texas 77010
Phone: (713) 333-5199

16. Governing Law. This Sale and Assignment Agreement shall be governed
by and interpreted in accordance with the laws of the State of Delaware, without regard to
conflicts of laws principles.

17. Venue and Retention of Jurisdiction. Without limiting any party’s rights
to appeal any order of the Bankruptcy Court, (a) the Bankruptcy Court shall retain exclusive
jurisdiction to enforce the terms of this Agreement and to decide any claims or disputes that may
arise or result from, or be connected with, this Agreement, any breach or default hereunder, or
the transactions contemplated hereby, and (b) any and all proceedings related to the foregoing
shall be filed and maintained only in the Bankruptcy Court, and the parties hereby consent to and
submit to the jurisdiction and venue of the Bankruptcy Court.

{Signature Page Follows}

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IN WITNESS WHEREOF, the parties hereto have caused this Sale and Assignment
Agreement to be duly executed as of the day and year first-above written.

AHM Corp.:

AMERICAN HOME MORTGAGE CORP..

By:
Name:
Title:
Assignee:
B&M MANAGEMENT CORP.
By:
Name:
Title:

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AGREED TO AND ACCEPTED solely with respect to the provisions of Section 3 of the
foregoing Sale and Assignment Agreement as of the dates set forth below.

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Broadhollow:
BROADHOLLOW FUNDING, LLC
By: B&M MANAGEMENT CORP., its

Manager

By:

Name:
Title:

Date: 2010

Debtors:

AMERICAN HOME MORTGAGE

ACCEPTANCE, INC.
By:

Name:

Title:
Date: 2010

AMERICAN HOME MORTGAGE

HOLDINGS, INC.
By:
Name:
Title:

Date: 2010

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AMERICAN HOME MORTGAGE

INVESTMENT CORP.
By:

Name:

Title:
Date: 2010

AHM SV, INC. (F/K/A AMERICAN HOME
MORTGAGE SERVICING, INC.)

By:

Name:
Title:

Date: 2010

AMERICAN HOME MORTGAGE
VENTURES LLC

By:

Name:
Title: |

Date: 2010

HOMEGATE SETTLEMENT SERVICES, INC.

Date: 2010

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EXHIBIT A
CONSENT OF AMERICAN HOME MORTGAGE CORP.

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CONSENT OF AMERICAN HOME MORTGAGE CORP.

The undersigned, being the sole member of Broadhollow Funding, LLC, a
Delaware limited liability company (the “Company”), hereby consents to the admission of B&M
MANAGEMENT CORP., a Delaware corporation, as a member of the Company.

AMERICAN HOME MORTGAGE CORP.

By:
Name:
Title:

Date: , 2010

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EXHIBIT B
ASSIGNMENT AND ASSUMPTION OF MEMBERSHIP INTERESTS

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ASSIGNMENT AND ASSUMPTION
OF MEMBERSHIP INTEREST

THIS ASSIGNMENT AND ASSUMPTION OF MEMBERSHIP
INTEREST (“Assignment”) is made as of the __ day of , 2010, by
American Home Mortgage Corp., a New York corporation (“Assignor”), to B&M
MANAGEMENT CORP., a Delaware corporation (“Assignee”).

WHEREAS, Assignor is the owner of 100% of the membership interest of
Broadhollow Funding, LLC (the “Company”); and

WHEREAS, Assignor wishes to transfer all of its membership interest in
the Company (the “Assigned Interest’) to Assignee.

NOW, THEREFORE, for good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Assignor hereby sells, assigns, transfers,
and conveys to Assignee all of its right, title, and interest in and to the Assigned Interest
free and clear of all liens, pledges, claims, charges, security interests, and encumbrances
of every kind and nature.

IN WITNESS WHEREOF, Assignor has caused this Assignment to be
executed and delivered as of the date first above-written.

AMERICAN HOME MORTGAGE CORP.
By:

Name:
Title:

Assignee hereby accepts the Assigned Interest and agrees to be bound by
all terms and conditions of the Company’s limited liability company agreement as a
member of the Company.

B&M MANAGEMENT CORP.
By:

Name:
Title:

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EXHIBIT C
RESIGNATION OF MANAGER

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RESIGNATION OF MANAGER

The undersigned, being the manager of Broadhollow Funding, LLC, a Delaware
limited liability company (the “Company”, hereby resigns as manager of the Company.

AMERICAN HOME MORTGAGE CORP.

Pursuant to Section 4.1(d) of the Company’s limited liability company agreement,
B&M MANAGEMENT CORP., a Delaware corporation, hereby agrees to act as successor
manager of the Company and agrees to be bound by the terms of the Company’s limited liability
company agreement as manager of the Company.

B&M MANAGEMENT CORP.

Date: , 2010

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SCHEDULE 1
MATERIAL ASSETS
1. Mortgage loans:
Mortgage Loan # __ _ Address

1267806 PEOTONE IL
1324939 _| BREMEN GA
1382188 CARROLLTON GA
1477103 | WESTMINSTER SC
1532228 HAMILTON NJ
1606284 MARSHALL NC
1672116 INDIANAPOLIS IN
1689304 NOBLESVILLE IN
1723876 INDIANAPOLIS IN
1768012 STONE MOUNTAIN GA
1776547 WEST NEW YORK NJ
1788152 -| CERRITOS CA
1790053 JACKSON TN
1798329 . , LNEW YORK NY
1802188 EDGERTON MN
1809327 LINVILLE NC
1810736 WASHINGTON NJ
1819258 EVANSVILLE IN
1819776 ATTLEBORO MA
1820524 WINDERMERE FL
1822063 | BUNKER HILL WV
1822319 _ __ NATIONAL CITY CA

2. Cash held in Deutsche Bank Cash Management Account
3. Potential claims against market value swap counterparties

4. Variable Funding Notes in the amount of $2.1 million

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SCHEDULE 2
CONTRACTS

1. Mortgage Loan Purchase and Servicing Agreement dated as of May 27, 2004, by and
among Broadhollow Funding, LLC, as Purchaser, American Home Mortgage Corp., as Seller,
Columbia National, Incorporated, as Servicer, and American Home Mortgage Investment Corp.,
as Performance Guarantor.

2. Security Agreement dated as of May 27, 2004, by and among Broadhollow Funding,
LLC, Deutsche Bank Trust Company Americas, as Indenture Trustee, and Deutsche Bank Trust
Company Americas, as Collateral Agent.

3. Base Indenture dated as of May 27, 2004, by and between Broadhollow Funding, LLC
and Deutsche Bank Trust Company Americas, as Indenture Trustee.

4, Custodial Agreement dated as of May 27, 2004, by and among Broadhollow Funding,
LLC, as Issuer, American Home Mortgage Corp., as Seller, Columbia National, Incorporated, as
Servicer, Deutsche Bank National Trust Company, as Custodian, and Deutsche Bank Trust
Company Americas, as Collateral Agent.

5. Depositary Agreement dated as of May 27, 2004, by and between Broadhollow Funding,
LLC and Deutsche Bank Trust Company Americas, as Depositary.

6. Series 2004-1 Supplement to Base Indenture dated as of May 27, 2004, by and between
Broadhollow Funding, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as
Indenture Trustee and Paying Agent.

7, Series 2004-A Supplement to Base Indenture dated as of May 27, 2004, by and between
Broadhollow Funding, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as
Indenture Trustee and Paying Agent.

8. Rated Bidder Letter Agreement dated May 27, 2004, by and among Deutsche Bank
Securities Inc., Broadhollow Funding, LLC, Columbia National, Incorporated, and Deutsche
Bank Trust Company Americas.

9. Commitment Fee Agreement dated as of May 27, 2004, by and between Broadhollow
Funding, LLC and American Home Mortgage Corp.

10. Securities Account Control Agreement dated as of May 27, 2004, by and between
Broadhollow Funding, LLC, as Issuer and Deutsche Bank Trust Company Americas, as
Securities Intermediary and Secured Party.

11. ISDA Master Agreement dated as of May 27, 2004, by and between ABN Amro Bank
N.V. and Broadhollow Funding, LLC.

12. ISDA Master Agreement dated as of May 27, 2004, by and between Bank of America,
N.A. and Broadhollow Funding, LLC.

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13. | ISDA Master Agreement dated as of May 27, 2004, by and between Calyon New York
Branch and Broadhollow Funding, LLC.

14. Put Agreement dated as of May 27, 2004, by and between Melville Funding, LLC and
Broadhollow Funding, LLC.

15. Guarantee and Reimbursement Agreement dated as of May 27, 2004, by and between
Broadhollow Funding, LLC and Melville Funding, LLC.

16. Short Term Note Dealer Agreement dated as of May 27, 2004, by and between
Broadhollow Funding, LLC, Melville Funding, LLC, American Home Mortgage Acceptance,
Inc., American Home Mortgage Corp., Lehman Brothers Inc., and Banc of America Securities
LLC.

17. Series 2005-A Supplement to Base Indenture dated as of June 7, 2005, by and between
Broadhollow Funding, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as
Indenture Trustee and Paying Agent.

18. | Amendment to Series 2004-1 Supplement dated as of June 7, 2005, by and among
Broadhollow, LLC [sic], as Issuer, Deutsche Bank Trust Company Americas, as Indenture
Trustee and Paying Agent.

19. Amendment No. 1 to Security Agreement dated May 27, 2004, dated as of June 7, 2005,
by and among Broadhollow Funding, LLC, and Deutsche Bank Trust Company Americas, as
Collateral Agent and Indenture Trustee.

20. Amended and Restated Confirmation dated June 7, 2005, by and between Broadhollow
Funding, LLC and Calyon New York Branch.

2). ISDA Master Agreement dated as of June 7, 2005, by and between Citibank, N.A. and
Broadhollow Funding, LLC.

22. Letter of Representations dated May 27, 2004, by and among Broadhollow Funding,
LLC, Deutsche Bank Trust Company Americas, and The Depository Trust Company.

23. Designation of Special Member Agreement dated May 27, 2004, by and between
Broadhollow Funding, LLC and National Corporate Research, Ltd.

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SCHEDULE 3
PROCEEDINGS, CLAIMS AND LIABILITIES

1. Proceedings against Broadhollow
NONE
2. Proceedings in which Broadhollow is asserting claims against other parties:

a. Bank of America swap litigation

3. Liability for monies owed
a. Subordinated Notes
b. Any money owed to American Home Mortgage Servicing, Inc. for costs and fees

incurred in connection with servicing the Mortgage Loans listed on Schedule 1, though servicing
fees are deducted from the monthly P&I remittances. Corporate and escrow advances owed as of
December 31, 2009 were $8,500.

C. Any money owed to Indenture Trustee, though invoices are paid as received. The
recurring fees are as follows:

- Annual fee to the Indenture Trustee of $1,750 as well as a monthly fee of $1,000
to $2,000

- Annual fee to the Special Member of $1,000

- Monthly legal fees (Stewart & Kissel) of $1,000 to $3,000

- Miscellaneous fees of $270

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SCHEDULE 4
BROADHOLLOW LLC AGREEMENT

{Attached}

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SCHEDULE 5
KNOWLEDGE PARTIES
Employee/Consultant Name Department/Task
Belinda Jones A/P
Paul Moran A/P, Payroll, Benefits
Pina Ruperto Accounting
Catherine Cassagnau-Lundie § Accounting
Eileen Wanerka Claims
Damian Voulo Claims, Loan Disposition
Antonio Marra Files
Chris Cavaco IT
Jason Burzenski IT
Frank Policano IT
Carlo Colagiacomo Legal
Simon Sakamoto Securities
Renne Parker Tax
Susan Seoylemezian Tax
Andy Dokos Treasury
Kevin Nystrom (Zolfo Cooper) CRO
Bret Fernandes (Zolfo Cooper) Director of Restructuring

Scott Martinez (Zolfo Cooper)

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SCHEDULE 6
REQUIRED MATERIALS

The following unaudited financial statements:
a. Balance sheets for 2007, 2008, and 2009
b. Profit and Loss statements for 2007, 2008, and 2009

C. Any interim balance sheets or Profit and Loss statements prepared after December
31, 2009 and prior to the Closing

d. Trial balances as of December 31, 2009

Current (through November 30, 2009) schedule of loans receivable and related servicing
tape.

Private Placement Memorandum for $1,915,000,000 Short Term Notes issued by
Broadhollow Funding, LLC (Series 2004-1)

Private Placement Memorandum for $3,111,875,000 Short Term Notes issued by
Broadhollow Funding, LLC (Series 2005-1)

Base Indenture, dated May 27, 2004, by and between Broadhollow Funding, LLC and
Deutsche Bank Trust Company Americas

Series 2004-A Supplement to Base Indenture, dated May, 2004, by and between
Broadhollow Funding, LLC and Deutsche Bank Trust Company Americas

Series 2004-1 Supplement to Base Indenture, dated May 27, 2004, by and between
Broadhollow Funding, LLC and Deutsche Bank Trust Company Americas

Amendment to Series 2004-1 Supplement, dated June 7, 2005

Series 2005-A Supplement to Base Indenture, dated June 7, 2005
Swap documents and all amendments

All other documents listed on Schedule 2

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Exhibit B

Melville Sale Agreement

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SALE, ASSIGNMENT AND TRANSFER OF LIMITED LIABILITY COMPANY
INTEREST OF MELVILLE FUNDING, LLC

This Sale, Assignment and Transfer of Limited Liability Company Interest of
Melville Funding, LLC (this “Sale and Assignment Agreement”) dated effective as of
, 2010, is entered into by and between AMERICAN HOME
MORTGAGE ACCEPTANCE, INC., a Maryland corporation (“AHM Acceptance”), and
B&M MANAGEMENT CORP., a Delaware corporation (“Assignee”).

RECITALS

WHEREAS, AHM Acceptance, together with American Home Mortgage Corp., a
New York corporation, American Home Mortgage Holdings, Inc., a Delaware corporation,
American Home Mortgage Investment Corp., a Maryland corporation, AHM SV, Inc. (f/k/a
American Home Mortgage Servicing, Inc.), a Maryland corporation, American Home Mortgage
Ventures LLC, a Delaware limited liability company, and Homegate Settlement Services, Inc., a
New York corporation (collectively, the “Debtors”), filed for bankruptcy protection under
Chapter 11 of the United States Bankruptcy Code on August 6, 2007, in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court’);

WHEREAS, the Debtors’ bankruptcies are being jointly administered under Case
No. 07-11047 (CSS);

WHEREAS, Melville Funding, LLC, a Delaware limited liability company
(“Melville”), was formed on December 19, 2003;

WHEREAS, pursuant to the Limited Liability Company Agreement of Melville
(the “Melville LLC Agreement”), dated as of May 27, 2004, AHM Acceptance is the sole equity
member and manager of Melville;

WHEREAS, Melville, as issuer, and Deutsche Bank Trust Company Americas, in
its capacity as Indenture Trustee (the “Indenture Trustee”), are parties to that certain Base
Indenture dated as of May 27, 2004 (the “Base Indenture”), for the issuance from time to time of
one or more series of Melville’s Residential Mortgage-Backed Notes (the “Senior Notes”), one
or more series of Melville’s Variable Funding Notes (the “Variable Funding Notes”), and one or
more series of Melville’s Residential Mortgage-Backed Subordinated Notes (the “Subordinated
Notes,” and collectively with the Senior Notes and the Variable Funding Notes, the “Notes”),
issuable as provided in the Base Indenture;

WHEREAS, capitalized terms used but not defined in this Sale and Assignment
Agreement shall have the meaning specified in the Base Indenture;

WHEREAS, Variable Funding Notes were issued to Broadhollow Funding, LLC,
a Delaware limited liability company (“Broadhollow”);

WHEREAS, the Indenture Trustee and/or the holders of the Variable Funding
Notes have claims against Melville for, inter alia, the portion of their Notes that remain unpaid,
and may have additional claims against AHM Acceptance in its capacity as member and/or
manager of Melville or against certain of the Debtors for various reasons,

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WHEREAS, the Debtors have or may be entitled to assert claims against Melville,
the Indenture Trustee, and one or more of the holders of the Variable Funding Notes;

WHEREAS, the Debtors currently hold the Miscellaneous Funds Escrow Account
(as defined in the Order Approving And Authorizing the Stipulation Between the Debtors and
Calyon New York Branch, as Administrative Agent [Docket No. 3918]);

WHEREAS, Melville has certain claims against Bank of America and other
market value swap providers for failing to make payments under a swap, which claims, if
liquidated, would be available to satisfy unpaid Notes;

WHEREAS, a full and complete list of the loans and/or real estate owned by
Melville (identified by loan number) is set forth on Schedule 1 hereto (the “Mortgage Loans”);

WHEREAS, Broadhollow is being transferred to Assignee; and

WHEREAS, pursuant to the terms of the Melville LLC Agreement, Rating Agency
Confirmation (as defined in the Melville LLC Agreement) is a condition to the transfer of a
member’s limited liability company interest or the removal of the manager.

NOW, THEREFORE, in consideration of the foregoing recitals, which are
incorporated by reference herein, the mutual promises herein contained and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
hereby agree as follows:

1. Sale and Assignment of Melville Interest; Payment. Subject to the terms
and conditions set forth in this Sale and Assignment Agreement, at the Closing (as hereinafter
defined), AHM Acceptance shall:

a. execute and deliver to Assignee that certain Consent of American
Home Mortgage Acceptance attached hereto as Exhibit A, pursuant to
which AHM Acceptance shall consent to the admission of Assignee as
a member of Melville;

b. pursuant to Section 363 of the Bankruptcy Code, execute and deliver
to Assignee that certain Assignment and Assumption of Membership
Interests attached hereto as Exhibit B (the “Assignment of
Membership Interests”), pursuant to which AHM Acceptance shall
sell, assign, transfer, and convey all of AHM Acceptance’s limited
liability company interest in Melville (the “Assigned Interest’) to
Assignee, free and clear of all liens, pledges, claims, charges, security
interests, and encumbrances of every kind and nature;

c. execute and deliver to Assignee that certain Resignation of Manager
attached hereto as Exhibit C, pursuant to which AHM Acceptance
shall resign as the manager of Melville;

d. deliver to Assignee (i) copies of all formation and organizational
documents filed by or on behalf of Melville with the Secretaries of

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State of the State of Delaware and each other state in which Melville is
qualified as a foreign limited liability company, all as certified by the
applicable Secretary of State within five (5) days prior to the Closing
Date, and (ii) certificates of good standing and payment of all
applicable state franchise taxes of Melville issued by the Delaware
Secretary of State and the appropriate officials of each other state in
which Melville is qualified as a foreign limited liability company, in
each case dated within five (5) days prior to the Closing Date;

e. execute and deliver to Assignee a certification of non-foreign status
satisfying the requirements of Section 1.1445-2(b)(2)(i) of the United
States Treasury Regulations promulgated under the Internal Revenue
Code of 1986, as amended; and

f. cause each of the other Debtors to execute a counterpart of this Sale
and Assignment Agreement to effectuate the release granted by
Debtors pursuant to Section 3 of this Sale and Assignment Agreement.

Upon the transfer of the Assigned Interest to Assignee, AHM Acceptance shall cease to be a
member of Melville, all limited liability company interests in Melville shall be held by Assignee,
and Assignee shall be the sole equity member of Melville.

2. Acceptance of Melville Interest. Subject to the terms and conditions set
forth in this Sale and Assignment Agreement, at the Closing, Assignee hereby agrees (a) to
execute and deliver to AHM Acceptance the Assignment of Membership Interests, pursuant to
which Assignee shall accept the sale, assignment, and transfer of the Assigned Interest from
AHM Acceptance and shall agree to be bound by all terms and conditions of the Melville LLC
Agreement; and (b) to cause Melville to execute a counterpart of this Sale and Assignment
Agreement to effectuate the release granted by Melville pursuant to Section 3 of this Sale and
Assignment Agreement. Assignee acknowledges and agrees that, subject to the Bankruptcy Court
Approval, the Assigned Interest will be assigned at the Closing without prior Rating Agency
Confirmation.

3, Mutual Releases.

a. Debtors’ Releases: Except for the duties, liabilities, and obligations of
AHM Acceptance under this Sale and Assignment Agreement and
subject to the last sentence of this Section 3.a, effective immediately
upon the admission of Assignee as a member of Melville and the
transfer of the Assigned Interest to Assignee, Melville, and Assignee,
on behalf of Assignee and all of Assignee’s current and former
officers, members, agents, directors, predecessors, successors, assigns,
affiliates, and other representatives, in each case, solely in such
capacity (collectively, the “Melville Releasors”), fully and forever
release, acquit, waive and discharge each of the Debtors and Debtors’
respective officers, managers, members, directors, stockholders,
employees, affiliates, subsidiaries, parents, agents, representatives,
attorneys, heirs, successors and assigns, as applicable (collectively, the
“Debtor Releasees”), of and from all and every manner of claims,

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including but not limited to, any action and actions, cause and causes
of action, complaints, debts, covenants, rights, suits, judgments,
representations, warranties, fees, demands, priority claims, unsecured
claims, cure claims, deficiency claims, interest claims, penalty claims,
administrative claims, counterclaims, and damages whatsoever, known
or unknown, arising, accruing, assessed or assessable in respect of any
periods and any transactions, contracts or agreements occurring or
entered into in any periods (collectively, the “Melville Released
Claims’), which Melville Released Claims shall be waived, released,
forever barred, discharged and disallowed. For the avoidance of
doubt, Debtor Releasees shall include any plan trust established by
Order of the Bankruptcy Court to which any Debtors’ assets are
transferred as well as the trustee of any such trust. Notwithstanding
anything to the contrary set forth in this Section 3.a, the Noteholders
that hold direct or indirect ownership interests in Assignee shall not be
deemed to be Melville Releasors for purposes of this Section 3.a, it
being acknowledged and agreed that any releases given by such
Noteholders shall be governed solely by Section 4 hereof and the
Order contemplated therein.

Melville and Assignee Releases: Except for the duties, liabilities, and
obligations of Assignee under this Sale and Assignment Agreement
and subject to the last sentence of this Section 3.b, effective
immediately upon the admission of Assignee as a member of Melville
and the transfer of the Assigned Interest to Assignee, Debtors, on
behalf of themselves and all of their current and former officers,
members, agents, directors, predecessors, successors, assigns,
affiliates, and other representatives, in each case, solely in such
capacity (collectively, the “Debtor Releasors”), fully and forever
release, acquit, waive and discharge each of Melville and Assignee,
and all of their respective officers, managers, members, directors,
shareholders, employees, affiliates, subsidiaries, parents, agents,
representatives, attorneys, heirs, successors and assigns, as applicable
(collectively, the “Melville Releasees”), of and from all and every
manner of claims, including but not limited to, any action and actions,
cause and causes of action, complaints, debts, covenants, rights, suits,
judgments, representations, warranties, fees, demands, priority claims,
unsecured claims, cure claims, deficiency claims, interest claims,
penalty claims, administrative claims, counterclaims, and damages
whatsoever, known or unknown, arising, accruing, assessed or
assessable in respect of any periods and any transactions, contracts or
agreements occurring or entered into in any periods (collectively, the
‘Debtors’ Released Claims”), which Debtors’ Released Claims shall
be waived, released, forever barred, discharged and disallowed.
Notwithstanding anything to the contrary set forth in this Section 3.b,
the Noteholders that hold direct or indirect interests in the Assignee
and the Indenture Trustee, shall not be deemed to be Melville
Releasees for purposes of this Section 3.b, it being acknowledged and

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agreed that any releases given by the Debtor Releasors to such
Noteholders and the Indenture Trustee shall be governed solely by
Section 4 hereof and the Order contemplated therein.

4, Bankruptcy Court Approval. All obligations of the Debtors, Melville and
Assignee under this Sale and Assignment Agreement, including all actions, sales, assignments,
agreements, releases, waivers, consents, terms and obligations contained herein, are subject to
and conditioned upon approval, upon notice and a hearing, by the Bankruptcy Court of (1) the
transfer of the Assigned Interest from AHM Acceptance to Assignee and the replacement of
AHM Acceptance as the manager of Melville by Assignee, in each case without prior Rating
Agency Confirmation, and (ii) the Order Releases (as defined below) (collectively, “Bankruptcy
Court Approval”). Within two (2) business days of the execution of this Sale and Assignment
Agreement, Debtors shall file a motion with the Bankruptcy Court seeking Bankruptcy Court
Approval. Each of the parties acknowledges and agrees that (a) the release of the Debtors is an
integral part of the consideration to the Debtors under this Sale and Assignment Agreement, (b)
that it is the intent of the parties that Debtors be released from any and all liabilities or
obligations related to or arising out of Debtors ownership of Melville, and (c) that as part of the
Bankruptcy Court Approval, Debtors will seek an Order that includes (i) the Indenture Trustee,
solely in its capacity as such and for no other purpose, and Noteholders, solely in their capacity
as such and for no other purpose, as additional releasors; and (ii) the Indenture Trustee, solely in
its capacity as such and for no other purpose, and Noteholders, solely in their capacity as such
and for no other purpose, as additional releasees such that there will be a mutual release of any
claims the Indenture Trustee or Noteholders have or may have against the Debtors and any
claims the Debtors have or may have against the Indenture Trustee or Noteholders, in each case,
solely in their respective capacities as Indenture Trustees or Noteholders ((i) and (ii),
collectively, the ‘““Order Releases”).

5. Representations and Warranties.

a. AHM Acceptance hereby represents and warrants to Assignee as of the
date hereof and as of the Closing Date as follows:

(i) AHM Acceptance (A) is duly incorporated and is validly existing
in good standing as a corporation under the laws of its jurisdiction of
incorporation; and (B) subject to obtaining Bankruptcy Court
Approval, has the corporate power and authority to execute and deliver,
and perform AHM Acceptance’s obligations under, this Sale and
Assignment Agreement. This Sale and Assignment Agreement has been
duly executed and delivered by AHM Acceptance.

(ii) Subject to obtaining Bankruptcy Court Approval, this Sale and
Assignment Agreement shall be valid, binding and enforceable against
AHM Acceptance and its successors and assigns in accordance with its
terms.

(iti) Melville (A) is duly formed and is validly existing in good
standing as a limited liability company under the laws of its jurisdiction of
formation; and (B) has the limited liability company power and authority
to own its properties and assets and to carry on its business.

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(iv) The execution, delivery, and performance of this Sale and
Assignment Agreement has been duly authorized by all necessary
corporate action on behalf of AHM Acceptance.

(v) Subject to obtaining Bankruptcy Court Approval including a
waiver of the Rating Agency Confirmation, the execution, delivery, and
performance of this Sale and Assignment Agreement does not and will not
violate any provision of the formation or organizational documents of
Melville, create any lien, security interest, charge, or encumbrance on the
Assigned Interest or any assets of Melville, or conflict with or result in a
breach of, create an event of default under, or give any third party the nght
to accelerate any obligation under, any agreement, mortgage, order,
arbitration award, judgment, or decree to which AHM Acceptance or
Melville is a party or by which AHM Acceptance, Melville, the Assigned
Interest, or any assets or properties of the Melville, are bound or affected.
Subject to obtaining Bankruptcy Court Approval including a waiver of the
Rating Agency Confirmation, AHM Acceptance has obtained all consents
necessary for the consummation of the transactions contemplated herein.

(vi) AHM Acceptance is the sole equity member and manager of
Melville, is the sole owner of the Assigned Interest and, subject to
obtaining Bankruptcy Court Approval, has full right to transfer, assign,
and sell the Assigned Interest free and clear of any liens, charges,
encumbrances or claims.

(vii) Schedule 1 contains a complete list of the Mortgage Loans and any
other material assets owned by Melville. Melville does not lease any
properties and does not own any direct or indirect interests in any other
entity.

(viii) Schedule 2 lists all contracts and agreements, whether written or
oral, material to and binding upon Melville or involving any restrictions
on the operation of the business of Melville (each, a “Contract” and
collectively, the ““Contracts”). Each Contract is valid and binding, and, to
the knowledge of AHM Acceptance, no party thereto is in breach or
default thereof except as described on Schedule 2. AHM Acceptance has
delivered to Assignee copies of all written Contracts and a written
description of any oral Contracts.

(ix) Except as described on Schedule 3 attached hereto and except for
any Proceeding (as hereinafter defined) released under this Agreement, to
AHM Acceptance’s knowledge, there is no pending or threatened action,
suit, proceeding, claim, investigation, or inquiry (each, a “Proceeding’’)
before or by any United States or non-United States federal, national,
supranational, state, provincial, local or similar government,
governmental, regulatory or administrative authority, branch, agency,
department, commission, board, bureau, instrumentality or any court,
tribunal, or arbitral or judicial body (including any grand jury), to restrain

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or prevent the consummation of the transactions contemplated herein, or
that might affect the right of the Assignee to own the Assigned Interest or
the right of the Assignee to operate the business of Melville, or otherwise
affecting Melville, its assets, or business or involving this Sale and
Assignment Agreement. Except as described on Schedule 3 attached
hereto, there is no Proceeding pending by Melville against others. Except
as described on Schedule 3 attached hereto, Melville has no indebtedness

for monies owed to AHM Acceptance or any third party.

(x) Schedule 4 attached hereto contains a true, complete and correct
copy of the Melville LLC Agreement, including all amendments thereto.

(xi) Melville has at all times been a single member limited liability
company characterized as a disregarded entity for all federal and state
income tax purposes such that all items of income, gain, and loss of
Melville have been included in the income, gain, and loss of AHM
Acceptance and reported accordingly on returns and reports required to be
filed by AHM Acceptance or the consolidated group of which AHM
Acceptance is a member. Melville will continue to be characterized as a
disregarded entity and any income, gain, and loss from Melville will be
included in all the required federal and state income tax return filings of
AHM Acceptance or the consolidated group of which AHM Acceptance is
a member through the Closing Date. AHM Acceptance or the
consolidated group of which AHM Acceptance is a member has paid or
will pay all taxes, interest and penalties associated with the items of
income, gain, and loss of Melville through the Closing Date. Other than
state franchise tax returns to maintain its existence in its state of
organization or in any state where Melville is qualified to do business, as a
disregarded entity, Melville was not required to and has not filed separate
federal or state income or other tax returns. Melville has or shall have (A)
filed all required state franchise tax returns in each jurisdiction where
Melville is qualified to do business that are due on or before the Closing
Date and (B) paid all taxes and fees reflected on such franchise tax returns

as well as interest and penalties, if any, relating thereto.

(xii) All of the Notes other than the Variable Funding Notes, to the
extent issued, have been paid in full in accordance with their terms and

have been fully released and discharged.

(xiii) No broker, finder or investment banker is entitled to any
brokerage, finder’s or other fee or commission in connection with the
transactions contemplated by this Sale and Assignment Agreement based

upon arrangements made by or on behalf of AHM Acceptance.

(xiv) Melville does not have any employees and has not had any

employees since the date of its formation.

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(xv) Melville has not been qualified to do business in any state other
than Delaware and no state has asserted or notified Melville that Melville
is required to be qualified to do business in such state.

(xvi) None of the representations or warranties of AHM Acceptance in
this Sale and Assignment Agreement or any related schedule or certificate
delivered by AHM Acceptance to Assignee contains any untrue statement
of a material fact or omits to state a material fact necessary to make the
statements herein or therein not misleading.

For purposes of this Sale and Assignment Agreement, the term “AHM Acceptance’s knowledge”
shall mean the actual knowledge of the employees of and consultants to AHM Acceptance set
forth on Schedule 5 attached hereto after making a reasonable inquiry as to the accuracy of the
representation or warranty in question. For the avoidance of doubt, none of the individuals set
forth on Schedule 5 attached hereto shall be deemed to be a party to this Sale and Assignment
Agreement and no such individual shall be personally liable to Assignee for any breach of this
Sale and Assignment Agreement.

Assignee hereby represents and warrants to AHM Acceptance as of the

date hereof and as of the Closing Date as follows:

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(i) Assignee (A) is duly formed and is validly existing in good
standing as a corporation under the laws of its jurisdiction of formation;
and (B) has the corporate power and authority to execute and deliver, and
perform Assignee’s obligations under, this Sale and Assignment
Agreement. This Sale and Assignment Agreement has been duly executed
and delivered by Assignee.

(i1) This Sale and Assignment Agreement is valid, binding and
enforceable against Assignee and its successors and assigns in accordance
with its terms.

(iii) The execution and delivery of this Sale and Assignment
Agreement has been duly authorized by all necessary corporate action on
behalf of Assignee.

(iv) | Assignee has the corporate power and authority to accept and hold
the Assigned Interest as the sole member of Melville.

(v) There is no pending or, to Assignee’s knowledge, threatened
Proceeding before or by any United States or non-United States federal,
national, supranational, state, provincial, local or similar government,
governmental, regulatory or administrative authority, branch, agency,
department, commission, board, bureau, instrumentality or any court,
tribunal, or arbitral or judicial body (including any grand jury), to restrain
or prevent the consummation of the transactions contemplated herein, or
that might affect the right of the Assignee to own the Assigned Interest or
the right of the Assignee to operate the business of Melville.

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(vi) No broker, finder or investment banker is entitled to any
brokerage, finder’s or other fee or commission in connection with the
transactions contemplated by this Sale and Assignment Agreement based
upon arrangements made by or on behalf of Assignee.

For purposes of this Sale and Assignment Agreement, the term “Assignee’s knowledge” shall
mean the actual knowledge of Geoffrey L. Berman after making a reasonable inquiry as to the
accuracy of the representation or warranty in question.

6. Documents. To the extent such documents and information actually exist
and are in the possession of AHM Acceptance, AHM Acceptance shall use its commercially
reasonable efforts to deliver to Assignee, no later than fifteen (15) days prior to Closing, all of
the documents and information described on Schedule 6 attached hereto (collectively, the
“Required Materials”). Without limiting the foregoing, it shall be a condition to Assignee’s
obligation to consummate the transactions contemplated herein that the Required Materials are
delivered to Assignee three (3) business days prior to the Closing Date, and the Closing Date
shall be adjourned as necessary to accomplish the foregoing. Within fourteen (14) business days
after Closing (as hereinafter defined), AHM Acceptance shall transfer to Assignee (i) any and all
Mortgage Loan documents in AHM Acceptance’s possession and (ii) any and all records,
agreements, statements, tax returns or other governmental filings pertaining to or binding upon
Melville (other than Required Materials) that, in each case, are in AHM Acceptance’s
possession.

7. Future Cooperation. Each of the parties hereto agrees to cooperate at all
times from and after the date hereof with respect to all of the matters described herein and to
execute and deliver such further assignments, releases, assumptions, amendments of the Melville
LLC Agreement, notifications, and other documents as may be reasonably requested for the
purpose of giving effect to, evidencing, or giving notice of the transaction contemplated by this
Sale and Assignment Agreement. In addition, for a period of at least thirty (30) days following
the Closing Date, AHM Acceptance shall make Kevin Nystrom or another employee of AHM
Acceptance knowledgeable about Melville and its finances reasonably available during normal
working hours to answer any of Assignee’s questions pertaining thereto. All actual costs
associated with any actions described in this Paragraph shall be paid for by the requesting party.
AHM Acceptance shall notify Assignee if at any time prior to or after the Closing AHM
Acceptance shall become aware of any information or documentation that would render any
representation or warranty set forth in Section 5a. of this Sale and Assignment Agreement
untrue in any material respect. AHM Acceptance and any successor thereto shall provide
Assignee with at least sixty (60) days’ notice of the hearing to consider a final decree of the
Bankruptcy Court closing the Chapter 11 Cases of the Debtors (the “Estate Termination Date”).

8. Closing. Subject to the terms and conditions of this Sale and Assignment
Agreement, including, without limitation, Section 6 hereof, the closing (the “Closing”) of the
transaction contemplated hereby shall take place on the later to occur of (i) three (3) business
days following Bankruptcy Court Approval, (ii) three (3) business days following the sale of the
mortgage loans owned by Broadhollow (the “Closing Date’), or (iii) immediately after the
transfer of Broadhollow to Assignee. The representations and warranties of the parties shall be
true and correct in all materials respects as of the Closing Date as if made on the Closing Date
except to the extent any such representations and warranties speak of a specified earlier date (in

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which case such representation and warranty shall be true and correct as of such specified earlier
date). If, prior to the Closing Date, AHM Acceptance or Assignee, as the case may be,
determines that a representation or warranty made by the other party is not true and correct in all
material respects, then the sole remedy of the party asserting a breach of a representation or
watranty shall be to terminate this Sale and Assignment Agreement, and if this Sale and
Assignment Agreement is so terminated, this Sale and Assignment Agreement shall become void
and of no further force or effect and no party shall have any liability or further obligation to any
other party resulting from such termination. As of the Closing, (i) AHM Acceptance shall certify
to Assignee that, to the knowledge of AHM Acceptance, there is no breach of any representation
or warranty made by Assignee in this Sale and Assignment Agreement; and (ii) Assignee shall
certify to AHM Acceptance that, to the knowledge of Assignee, there is no breach of any
representation or warranty made by AHM Acceptance in this Sale and Assignment Agreement.

9. Certain Expenses. All costs and expenses, including, without limitation,
legal costs and fees and any capital gains or other income taxes, incurred in connection with this
Sale and Assignment Agreement and the consummation of the transactions hereunder shall be
paid by the party incurring such expenses; provided, however, that costs and expenses, if any, of
Melville incurred in connection with this Sale and Assignment Agreement and the
consummation of the transactions hereunder shall be paid by AHM Acceptance.

10. Entire Agreement. This Sale and Assignment Agreement supersedes all
prior agreements between the parties with respect to its subject matter, and constitutes a
complete and exclusive statement of the terms of the agreement between the parties with respect
to its subject matter. This Sale and Assignment Agreement may not be amended except by a
written agreement executed by all parties hereto.

11. Binding Effect. This Sale and Assignment Agreement shall be binding
upon, and shall inure to the benefit of, the parties hereto and their respective successors and
assigns. AHM Acceptance may not assign or transfer any right or obligation hereunder without
the prior written consent of Assignee. Assignee may assign or transfer its rights and obligations
hereunder to any entity controlling, controlled by or under common control with Assignee.

12. Execution in Counterparts. This Sale and Assignment Agreement may be
executed in one or more counterparts, by facsimile or by original signatures, each of which shall
be deemed an original, but all of which together shall constitute one and the same instrument.

13. Survival of Representations and Warranties. The representations and
warranties contained in this Sale and Assignment Agreement and in any certificate or other
instrument delivered pursuant hereto by any party shall survive the Closing until the earliest to
occur of (a) the Estate Termination Date; and (b) the third anniversary of the Closing; provided,
however that the representations and warranties of AHM Acceptance set forth in Sections
5.a(vii), 5.a(viii), 5.a(ix), 5.a(x), 5.a(xii), 5.a(xiv), and 5.a(xvi) of this Sale and Assignment
Agreement (but only 5.a(xvi) to the extent it relates to another Limited Representation) and the
representations and warranties of Assignee set forth in Section 5.b(v) of this Sale and
Assignment Agreement (collectively, the “Limited Representations”) shall only survive the
Closing for a period of one (1) year, and damages payable to AHM Acceptance or Assignee, as
the case may be, for any one or more breaches of any Limited Representation by the other party
shall not exceed, in the aggregate, a maximum amount of Fifty Thousand and 00/100 Dollars

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($50,000.00) (the “Limited Representations Damages Cap”), provided, however, that the Limited
Representations Damages Cap shall not apply to any representation or warranty that was made
fraudulently or was knowingly false. All covenants contained in this Sale and Assignment
Agreement to be performed at or after the Closing shall survive the Closing.

14. Notices. Any notice pursuant to this Sale and Assignment Agreement
shall be given in writing by (a) personal delivery, or (b) reputable overnight delivery service with
proof of delivery, or (c) United States Mail, postage prepaid, registered or certified mail, return
receipt requested, sent to the intended addressee at the address set forth below, or to such other
address or to the attention of such other person as the addressee shall have designated by written
notice sent in accordance herewith, and shall be deemed to have been given either at the time of
personal delivery, or, in the case of expedited delivery service or mail, as of the date of first
attempted delivery at the address and in the manner provided herein, and provided also that
delivery after 4:00 p.m. Eastern Time on a business day, or on a day that is not a business day
shall be deemed delivered on the following business day. Notices may be given by counsel for
any party. Unless changed in accordance with the preceding sentence, the addresses for notices
given pursuant to this Sale and Assignment Agreement shall be as follows:

If to AHM Acceptance: American Home Mortgage Acceptance
538 Broadhollow Road
Melville, New York 11747
Attention: Kevin Nystrom

with a copy to: Craig D. Grear, Esq.
Young Conaway Stargatt & Taylor, LLP
The Brandywine Building
1000 West Street, 17th Floor
Wilmington, Delaware 19801
Phone: (302)571-6612

If to Assignee: B&M Management Corp.
c/o Development Specialists, Inc.
Attention: Geoffrey L. Berman
333 S. Grand Avenue, Suite 4070
Los Angeles, California 90071-1544
Phone: (213) 617-2717

with a copy to: Allan Diamond, Esq.
Diamond McCarthy LLP
909 Fannin, Suite 1500
Houston, Texas 77010
Phone: (713) 333-5199

15. Governing Law. This Sale and Assignment Agreement shall be governed
by and interpreted in accordance with the laws of the State of Delaware, without regard to
conflicts of laws principles.

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16. Venue and Retention of Jurisdiction. Without limiting any party’s rights
to appeal any order of the Bankruptcy Court, (a) the Bankruptcy Court shall retain exclusive
jurisdiction to enforce the terms of this Agreement and to decide any claims or disputes that may
arise or result from, or be connected with, this Agreement, any breach or default hereunder, or
the transactions contemplated hereby, and (b) any and all proceedings related to the foregoing
shall be filed and maintained only in the Bankruptcy Court, and the parties hereby consent to and
submit to the jurisdiction and venue of the Bankruptcy Court.

{Signature Page Follows}

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IN WITNESS WHEREOF, the parties hereto have caused this Sale and Assignment
Agreement to be duly executed as of the day and year first-above written.
AHM Acceptance:

AMERICAN HOME MORTGAGE
ACCEPTANCE, INC.

By:
Name:
Title:
Assignee:
B&M MANAGEMENT CORP.
By:
Name:
Title:

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AGREED TO AND ACCEPTED solely with respect to the provisions of Section 3 of the
foregoing Sale and Assignment Agreement as of the dates set forth below.

Melville:
MELVILLE FUNDING, LLC
By: B&M MANAGEMENT CORP., its

Manager

By:

Name:
Title:

Date: 2010

Debtors:

AMERICAN HOME MORTGAGE CORP.

By:

Name:
Title:

Date: 2010

AMERICAN HOME MORTGAGE
HOLDINGS, INC.

By:

Name:
Title:

Date: 2010

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AMERICAN HOME MORTGAGE

INVESTMENT CORP.
By:

Name:

Title:
Date: 2010

AHM SV, INC. (F/K/A AMERICAN HOME
MORTGAGE SERVICING, INC.)

Date: 2010

AMERICAN HOME MORTGAGE
VENTURES LLC

By:

Name:
Title:

Date: 2010

HOMEGATE SETTLEMENT SERVICES, INC.

Date: 2010

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EXHIBIT A
CONSENT OF AMERICAN HOME MORTGAGE ACCEPTANCE

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CONSENT OF AMERICAN HOME MORTGAGE ACCEPTANCE, INC.

The undersigned, being the sole member of Melville Funding, LLC, a Delaware
limited liability company (the “Company”), hereby consents to the admission of B&M
MANAGEMENT CORP., a Delaware corporation, as a member of the Company.

AMERICAN HOME MORTGAGE
ACCEPTANCE, INC.

By:
Name:
Title:

Date: , 2010

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EXHIBIT B
ASSIGNMENT AND ASSUMPTION OF MEMBERSHIP INTERESTS

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ASSIGNMENT AND ASSUMPTION
OF MEMBERSHIP INTEREST

THIS ASSIGNMENT AND ASSUMPTION OF MEMBERSHIP
INTEREST (“Assignment”) is made as of the day of , 2010, by
American Home Mortgage Acceptance, Inc., a Maryland corporation (‘‘Assignor’’), to
B&M MANAGEMENT CORP., a Delaware corporation (“Assignee”).

WHEREAS, Assignor is the owner of 100% of the membership interest of
Melville Funding, LLC (the “Company’); and

WHEREAS, Assignor wishes to transfer all of its membership interest in
the Company (the “Assigned Interest’’) to Assignee.

NOW, THEREFORE, for good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Assignor hereby sells, assigns, transfers,
and conveys to Assignee all of its right, title, and interest in and to the Assigned Interest
free and clear of all liens, pledges, claims, charges, security interests, and encumbrances
of every kind and nature.

IN WITNESS WHEREOF, Assignor has caused this Assignment to be
executed and delivered as of the date first above-written.

AMERICAN HOME MORTGAGE
ACCEPTANCE, INC.

By:
Name:
Title:

Assignee hereby accepts the Assigned Interest and agrees to be bound by
all terms and conditions of the Company’s limited liability company agreement as a
member of the Company.

B&M MANAGEMENT CORP.

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EXHIBIT C
RESIGNATION OF MANAGER

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RESIGNATION OF MANAGER

The undersigned, being the manager of Melville Funding, LLC, a Delaware
limited liability company (the “Company”), hereby resigns as manager of the Company.

AMERICAN HOME MORTGAGE
ACCEPTANCE, INC.

Pursuant to Section 4.1(d) of the Company’s limited liability company agreement,
B&M MANAGEMENT CORP., a Delaware corporation, hereby agrees to act as successor
manager of the Company and agrees to be bound by the terms of the Company’s limited liability
company agreement as manager of the Company.

B&M MANAGEMENT CORP.

By:
Name:
Title:

Date: , 2010

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SCHEDULE 1
MATERIAL ASSETS

1. Cash held in Deutsche Bank Cash Management Account
2. Potential claims against market value swap counterparties

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SCHEDULE 2
CONTRACTS

1. Put Agreement dated as of May 27, 2004, by and between Melville Funding, LLC and
Broadhollow Funding, LLC.

2. Guarantee and Reimbursement Agreement dated as of May 27, 2004, by and between
Broadhollow Funding, LLC and Melville Funding, LLC.

3, Short Term Note Dealer Agreement dated as of May 27, 2004, by and between
Broadhollow Funding, LLC, Melville Funding, LLC, American Home Mortgage Acceptance,
Inc., American Home Mortgage Corp., Lehman Brothers Inc., and Banc of America Securities
LLC.

4, Mortgage Loan Purchase and Servicing Agreement dated as of May 27, 2004, by and
among Melville Funding, LLC, as Purchaser, American Home Mortgage Acceptance, Inc., as
Seller, Columbia National, Incorporated, as Servicer, and American Home Mortgage Investment
Corp., as Performance Guarantor.

5. Security Agreement dated as of May 27, 2004, by and among Melville Funding, LLC,
Deutsche Bank Trust Company Americas, as Indenture Trustee, and Deutsche Bank Trust
Company Americas, as Collateral Agent.

6. Base Indenture dated as of May 27, 2004, by and between Melville Funding, LLC and
Deutsche Bank Trust Company Americas, as Indenture Trustee.

7. Custodial Agreement dated as of May 27, 2004, by and among Melville Funding, LLC,
as Issuer, American Home Mortgage Acceptance, Inc., as Seller, Columbia National,
Incorporated, as Servicer, Deutsche Bank National Trust Company, as Custodian, and Deutsche
Bank Trust Company Americas, as Collateral Agent.

8. Series 2004-I Supplement to Base Indenture dated as of May 27, 2004, by and among
Melville Funding, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as Indenture
Trustee and Paying Agent.

9. Rated Bidder Letter dated May 27, 2004 by and among Melville Funding, LLC, Deutsche
Bank Securities Inc., Columbia National, Incorporated, and Deutsche Bank Trust Company
Americas.

10. Securities Account Control Agreement dated as of May 27, 2004, by and between
Melville Funding, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as Securities
Intermediary and Secured Party.

11. ISDA Master Agreement dated as of May 27, 2004, by and between ABN Amro Bank
N.V. and Melville Funding, LLC.

12. ISDA Master Agreement dated as of May 27, 2004, by and between Bank of America,
N.A. and Melville Funding, LLC.

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13. ISDA Master Agreement dated as of March 9, 2004, by and between Calyon New York
Branch and Melville Funding, LLC.

14. ISDA Master Agreement dated as of June 7, 2005, by and between Citibank N.A. and
Melville Funding, LLC.

15. Series 2007-I Supplement to Base Indenture dated as of May 27, 2004, dated as of March
14, 2007, by and between Melville Funding, LLC, as Issuer, and Deutsche Bank Trust Company
Americas, as Indenture Trustee and Paying Agent.

16. Designation of Special Member Agreement dated as of May 27, 2004, by and between
Melville Funding, LLC and National Corporate Research, Ltd.

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SCHEDULE 3
PROCEEDINGS, CLAIMS AND LIABILITIES

1. Proceedings against Melville

NONE

2. Proceedings in which Melville is asserting claims against other parties:

a. Bank of America swap litigation

3. Liability for monies owed
a. Variable Funding Notes, in the amount of $2.1 million

b. Any money owed to Indenture Trustee, though invoices are paid by Broadhollow
as received. The recurring fees are as follows:

- Annual fee to the Indenture Trustee of $1,750 as well as a monthly fee of $1,000
to $2,000

- Annual fee to the Special Member of $1,000

- Monthly legal fees (Stewart & Kissel) of $1,000 to $3,000

- Miscellaneous fees of $270

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SCHEDULE 4
MELVILLE LLC AGREEMENT

{Attached}

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SCHEDULE 5
KNOWLEDGE PARTIES
Employee/Consultant Name Department/Task
Belinda Jones A/P
Paul Moran A/P, Payroll, Benefits
Pina Ruperto Accounting
Catherine Cassagnau-Lundie Accounting
Eileen Wanerka Claims
Damian Voulo Claims, Loan Disposition
Antonio Marra Files
Chris Cavaco IT
Jason Burzenski IT
Frank Policano IT
Carlo Colagiacomo Legal
Simon Sakamoto Securities
Renne Parker Tax
Susan Seoylemezian Tax
Andy Dokos Treasury
Kevin Nystrom (Zolfo Cooper) CRO
Bret Fernandes (Zolfo Cooper) Director of Restructuring

Scott Martinez (Zolfo Cooper)

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SCHEDULE 6
REQUIRED MATERIALS

1. The following unaudited financial statements:
a. Balance sheets for 2007, 2008, and 2009
b. Profit and Loss statements for 2007, 2008, and 2009

C. Any interim balance sheets or Profit and Loss statements prepared after December
31, 2009 and prior to the Closing

d. Trial balances of December 31, 2009

2. Base Indenture, dated May 27, 2004, by and between Melville Funding, LLC and
Deutsche Bank Trust Company Americas

3, Series 2004-I Supplement to Base Indenture, dated May 27, 2004, by and between
Melville Funding, LLC and Deutsche Bank Trust Company Americas

4. Series 2007-1 Supplement to Base Indenture, dated March 14, 2007, by and between
Melville Funding, LLC and Deutsche Bank Trust Company Americas

5. Swap documents and all amendments

6. All other documents listed on Schedule 2

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